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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


                                            ORDER

   The cases identified in the attached schedule are set for trial during the trial month
   beginning December 4, 2023, in the United States Courthouse, 801 N. Florida Avenue,
   Tampa, Florida, Courtroom 15A before Judge Steven D. Merryday.
   However, cases are subject to trial by any Article III judge.

   No calendar call will occur. The courtroom deputy will notify counsel on which
   Monday to appear for trial. The names of counsel are furnished so that counsel may
   inform themselves of the progress of the listed cases.

   Counsel and pro se parties must advise the court promptly of any development that
   affects the trial of this case.

   No later than the beginning of trial, counsel must provide the courtroom deputy with
   three copies of the filed exhibit lists and witness lists. The parties must label exhibits
   in accord with the Local Rules of the Middle District of Florida. The Local Rules,
   the exhibit list form, and the exhibit tag form are available at
   www.flmd.uscourts.gov.

   No later than five business days before the first day of a trial term, counsel must
   (1) file proposed voir dire, jury instructions, and verdict form, (2) serve a copy of each
   on opposing counsel, (3) provide the courtroom deputy with a paper copy for the
   judge, and (4) e-mail to the courtroom deputy an MS-Word version of the jury
   instructions and the verdict form.

   A request to continue a trial must include a report of every non-moving party’s
   current support for, or opposition to, the requested continuance. If a request to
   continue is based on a calendar conflict with another proceeding, the request must
   provide the information necessary to confirm the existence of, and to determine the
   applicable priority of, the conflicting events in accord with the prescriptions in the
   “Resolution of the Florida State-Federal Judicial Council Regarding Calendar
   Conflicts Between State and Federal Courts,” which appears in Rule 2.550, Florida
   Rules of Judicial Administration. At a minimum the motion for a continuance based
   on a calendar conflict must contain the name of the conflicting case, the case number
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   and venue, the name and telephone number of the presiding judge, and the date of the
   order fixing the trial date in the conflicting case.

   Comply with Local Rule 5.03 at all times during trial.

   ORDERED in Tampa, Florida, on November 30, 2023




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                      MIDDLE DISTRICT OF FLORIDA LOCAL RULES



Rule 5.03 Courtroom Decorum

        (a) PURPOSE. This rule prescribes minimum requirements of courtroom decorum
            and supplements the Code of Professional Responsibility and the Rules
            Regulating The Florida Bar.

        (b) MINIMUM REQUIREMENTS FOR LAWYERS, PARTIES, AND OTHER
            OBSERVERS. When in court, a person:

              (1)    must stand, if able, when court is opened, recessed, and adjourned;

              (2)    must stand, if able, when the jury enters and leaves the courtroom;

              (3)    must refrain from any gesture, expression, comment, or noise that manifests
                     approval or disapproval;

              (4)    must not wear clothing intended or likely to influence or distract a juror;

              (5)    must keep an electronic device on silent mode;

              (6)    if at counsel table, must use an electronic device only for the matter under
                     consideration; and

              (7)    must not eat or drink anything except water.

        (c) ADDITIONAL REQUIREMENTS FOR LAWYERS AND PRO SE
           PARTIES. When in court, a lawyer and a pro se party:
           1 must stand, if able, when addressing, or being addressed by, the judge;

          2         must hand the courtroom deputy a document offered for the judge’s
                    examination;

          3         must stand, if able, behind the lectern when presenting the opening statement
                    or the closing argument or when examining a witness unless approaching the
                    witness or the courtroom deputy with an exhibit or approaching a
                    demonstrative exhibit;

          4         must not echo a witness’s answer when examining the witness;

          5         must state only the legal basis for an objection unless the judge requests
                    elaboration;

          6         must not offer or request a stipulation within the hearing of the jury;
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                 MIDDLE DISTRICT OF FLORIDA LOCAL RULES

          7    must address only the judge when commenting, inquiring, or arguing;

          8    must refrain from any display of animosity toward anyone in the courtroom,
               including a lawyer, litigant, or witness;

          9    must refer to a person by the person’s title and surname (for example, Ms.
               Smith or Dr. Robinson) or case designation (for example, “the plaintiff,” “the
               defendant,” or “the witness”);

          10   must call the judge “Judge [Last Name]” or “Your Honor”; and

          11   in an opening statement and a closing argument:

                 i.     must not express personal knowledge or opinion and

                ii.     must not suggest that the jury can or should request a transcript.

             (d)      ADDITIONAL REQUIREMENTS FOR LAWYERS ONLY.
           When in court, a lawyer:

          1    must ensure a client and witness know and observe this rule and

          2    must limit examination or cross-examination of a witness to one lawyer for
               each party and ensure the lawyer who objects during direct examination of a
               witness is the same lawyer who cross-examines the witness.

               (e)     PROCEEDING BY TELEPHONE OR VIDEO. If a judge conducts
           a proceeding by telephone or video, a participant:

          1    must dress in professional attire and use a professional background if either is
               visible,

          2    must use a landline if available,

          3    must designate one speaker for each party or interested person,

          4    must not participate from a vehicle,

          5    must use the mute setting when not speaking,

          6    must try to avoid background noise or other interference,

          7    must wait for the judge to address the participant before speaking and must
               not interrupt a speaker, and

          8    must start each distinct presentation by saying “this is [name]” or the
               equivalent
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JUDGE MERRYDAY TRIAL CALENDAR: DECEMBER 2023


(TRIAL TERM BEGINS DECEMBER 4, 2023)
      CASE NUMBER           CASE NAME                      COUNSEL                      DAYS

  1    22-cr-254-SDM-UAM*   United States of America       Benjamin Krebbs
       (BENCH TRIAL)        v.                                                           1
                            Francisco Angel Frita Reyes    Stephen Consuegra


  2   21-cv-1225-SDM-SPF*   1 Source Towers II, LLC         David Blum, Mattania Jahn
       (BENCH TRIAL)        v.                                                           2
                            City of Lakeland, Florida       Campbell, Trohn, Tamayo &
                                                            Aranda, PA



22-cr-254-SDM-SPF is date certain for 12/7/23 at 9:00 AM

21-cv-1225-SDM-SPF is date certain for 12/18/23-12/19/23 at 9:30 AM




***22-cr-407-SDM-JSS is date certain for November 13, 2023 at 1:30 PM.
